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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                           ENTERED
                                                                          January 17, 2025
                                                                      Nathan Ochsner, Clerk




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


IN RE ALTA MESA RESOURCES, INC.          Civil Action No. 4:19-cv-00957
SECURITIES LITIGATION



                 ORDER PRELIMINARILY APPROVING
              SETTLEMENT AND PROVIDING FOR NOTICE
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       WHEREAS, an action is pending before this Court entitled In re Alta Mesa

Resources, Inc. Securities Litigation, Civil Action No. 4:19-cv-00957 (S.D. Tex.) (the

“Action”);

       WHEREAS, on January 24, 2022, the Court certified the Action to proceed as a class

action on behalf of the following class (the “Class” or “Settlement Class”):

              (a)    All persons and entities that held shares of Alta Mesa Resources, Inc.

(“Alta Mesa”) f/k/a Silver Run Acquisition Corporation II (“Silver Run II”) common stock

(CUSIP 02133L109; ticker “SRUN”), and/or Silver Run II Units (“Silver Run Units”)

(CUSIP 82812A202; ticker “SRUNU”) on the January 22, 2018 record date that were

entitled to vote on Alta Mesa’s proposed transaction with Alta Mesa Holdings and

Kingfisher Midstream (the “Business Combination”) (collectively, persons and entities with

these claims may be referred to in these proceedings as the “Section 14a Class Members”);

              (b)    All persons and entities that purchased or otherwise acquired Alta Mesa

(Silver Run II) common stock (CUSIP 02133L109; ticker “SRUN”), Alta Mesa (Silver Run

II) warrants (CUSIP 02133L117; ticker “SRUNW”), and/or Silver Run II Units (“Silver Run

Units”) (CUSIP 82812A202; ticker “SRUNU”) on or after August 16, 2017 and prior to the

closing of the Business Combination on February 9, 2018 (collectively, persons and entities

with these claims may be referred to in these proceedings as the “Silver Run Class

Members”); and

              (c)    All persons and entities that purchased or otherwise acquired Alta Mesa

common stock (CUSIP 02133L109; ticker “AMR”) or Alta Mesa warrants (CUSIP

02133L117; ticker “AMRWW”) (other than those automatically converted from Silver Run


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Units by operation of the Business Combination) between the February 9, 2018 closing of

the Business Combination and May 17, 2019 (inclusive).1

        WHEREAS, Class Plaintiffs have been appointed Class Representatives and Robbins

Geller Rudman & Dowd LLP and Entwistle & Cappucci LLP have been appointed Class

Counsel.

        WHEREAS, notice of pendency of the Action was provided to Class Members in

April, 2024, and Class Members were afforded an opportunity to seek exclusion which has

since expired;

        WHEREAS, Class Plaintiffs having made application, pursuant to Federal Rule of

Civil Procedure 23(e), for an order preliminarily approving the settlement of this Action, in

accordance with separate Stipulations of Settlement between Class Plaintiffs and four groups

of Defendants, dated, respectively, October 16, 2024, October 29, 2024, November 8, 2024,


1
        For the avoidance of doubt, the three above categories are not mutually exclusive.
Excluded from the Class are the following: (i) Defendants; (ii) the officers and directors of
Alta Mesa, Silver Run II, AMH, KFM, and the Control Entity Defendants during the Class
Period (the “Excluded Officers and Directors”); (iii) members of the immediate families of
the Individual Defendants and of the Excluded Officers and Directors; (iv) any entity in
which any Defendant, any of the Excluded Officers and Directors or any of their respective
immediate family members has and/or had during the Class Period a controlling interest; (v)
Defendants’ liability insurance carriers; (vi) any affiliates, parents, or subsidiaries of Alta
Mesa, Silver Run II, AMH, KFM or the Control Entity Defendants; (vii) all Alta Mesa,
Silver Run II, AMH, KFM, and Control Entity Defendants’ plans that are covered by
ERISA; and (viii) the legal representatives, heirs, agents, affiliates, successors-in-interest or
assigns of any excluded person or entity, in their respective capacity as such (the “Excluded
Persons”). For the avoidance of doubt, the Class does not include the plaintiffs in Alyeska
Master Fund, L.P., et al. v. Alta Mesa Resources, Inc., et al., Case No. 4:22-cv-01189 and in
Orbis Global Equity LE Fund (Australia Registered), et al. v. Alta Mesa Resources, Inc., et
al., Case No. 4:22-cv-02590 (collectively, the “Individual Action Plaintiffs”), and any Person
who timely and validly sought exclusion from the Class (the “Opt Outs”). The Excluded
Persons, the Opt Outs, and the Individual Action Plaintiffs are collectively known as
“Excluded Entities.”

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and January 6, 2025 (the “Stipulations”), which, together with the Exhibits annexed thereto,

collectively set forth the terms and conditions for a proposed global settlement of the Action

(“Settlement”) and for dismissal of the Action with prejudice upon the terms and conditions

set forth therein; and the Court having been presented with the four Stipulations for review

on Class Plaintiffs’ single motion and having read and considered the Stipulations and the

Exhibits annexed thereto;

       WHEREAS, the Stipulations do not provide for a further opportunity for Class

Members to seek exclusion; and

       WHEREAS, unless otherwise defined, all capitalized terms used herein have the same

meanings as set forth in the Stipulations.

       NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.     After a preliminary review, the Settlement appears to be fair, reasonable, and

adequate. The Settlement: (i) resulted from arm’s-length negotiations overseen by an

experienced mediator; (ii) eliminates the risks to the Settling Parties of continued litigation;

(iii) does not provide undue preferential treatment to Class Plaintiffs or to segments of the

Class; (iv) does not provide excessive compensation to counsel for the Class; and (v) appears

to fall within the range of possible approval and is therefore sufficiently fair, reasonable, and

adequate to warrant providing notice of the Settlement to the Class. Accordingly, the Court

does hereby preliminarily approve the Settlement set forth in the Stipulations, subject to

further consideration at the Settlement Hearing described below.

        2.     A hearing (the “Settlement Hearing”) shall be held before this Court on

  April 30 , 2025, at 11:00 a.m. [a date that is at least 100 days from the date of this Order],


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at the United States District Court for the Southern District of Texas, Bob Casey United

States Courthouse, 515 Rusk Street, Houston, TX 77002, for the following purposes:

             (a)    to determine whether the Settlement is fair, reasonable, and adequate,

                    and should be approved by the Court;

             (b)    to finally determine whether Judgment as provided in the Stipulations

                    should be entered, dismissing the Complaint on the merits and with

                    prejudice, and to determine whether the release by the Class of the

                    Settling Defendants’ Releasees as set forth in the Stipulations, should

                    be ordered, along with a permanent injunction barring efforts to bring

                    any Released Plaintiffs’ Claims or Released Settling Defendants’

                    Claims extinguished by the Settlement;

             (c)    to finally determine whether the proposed Plan of Allocation for the

                    distribution of the Net Settlement Fund is fair and reasonable and

                    should be approved by the Court;

             (d)    to consider the application of Class Counsel for an award of attorneys’

                    fees and expenses, including awards to Class Plaintiffs pursuant to 15

                    U.S.C. §78u-4(a)(4);

             (e)    to consider any Class Member’s objections to the Settlement, Plan of

                    Allocation, or application for fees and expenses; and

             (f)    to rule upon such other matters as the Court may deem appropriate.

      3.     The Court may adjourn the Settlement Hearing without further notice to the

members of the Class, and reserves the right to approve the Settlement with such


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modifications as may be agreed upon or consented to by the Settling Parties and without

further notice to the Class where to do so would not impair Class Members’ rights in a

manner inconsistent with Rule 23 of the Federal Rules of Civil Procedure and due process of

law. The Court further reserves the right to enter its Judgment approving the Settlement and

dismissing the Complaint, on the merits and with prejudice, regardless of whether it has

approved the Plan of Allocation or awarded attorneys’ fees and expenses.

       4.     The Court approves, as to form and content, the Notice of Proposed Settlement

of Class Action (the “Notice”), the Proof of Claim and Release Form (the “Proof of Claim”),

the Summary Notice, and the Postcard Notice, annexed hereto as Exhibits A-1, A-2, A-3,

and A-4, respectively, and finds that the distribution of the Postcard Notice by email or

regular mail (where an email is unavailable) and publishing of the Summary Notice,

substantially in the manner and form set forth in ¶¶ 7-8 of this Order, meet the requirements

of Rule 23 of the Federal Rules of Civil Procedure and due process, and is the best notice

practicable under the circumstances and shall constitute due and sufficient notice to all

Persons entitled thereto.

       5.     Other than the fees, costs, and expenses of providing notice pursuant to the

Class Action Fairness Act, 28 U.S.C. § 1715, which have or shall be paid as set forth in the

Stipulations, all fees, costs, and expenses incurred in identifying and notifying potential

Class Members shall be paid from the Settlement Fund as set forth in the Stipulations, and in

no event shall any of the Released Defendant Parties or Releasing Plaintiff Parties bear any

responsibility for such fees, costs, or expenses.




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       6.     The firm of JND Legal Administration (“Claims Administrator”) is hereby

appointed to supervise and administer the notice procedure as well as the processing of

claims as more fully set forth below.

       7.     Class Counsel, through the Claims Administrator, shall commence emailing or

mailing (where an email is unavailable) the Postcard Notice, substantially in the form

annexed hereto, within twenty (20) calendar days after the Court signs this Order (the

“Notice Date”), by email or by first-class mail to all Class Members who can be identified

with reasonable effort. Contemporaneously with the emailing or mailing of the Postcard

Notice, the Claims Administrator shall cause the Notice and Proof of Claim, substantially in

the   forms   attached    hereto,   to   be    posted   on   the   Settlement     website   at

www.AltaMesaSecuritiesLitigation.com, from which copies of the documents can be

downloaded.

       8.     Not later than seven (7) calendar days after the Notice Date, the Claims

Administrator shall cause the Summary Notice to be published once in the national edition of

The Wall Street Journal and once over a national newswire service.

       9.     At least seven (7) calendar days prior to the Settlement Hearing, Class Counsel

shall serve on Defendants’ counsel and file with the Court proof, by affidavit or declaration,

of such emailing, mailing, and publishing.

       10.    Nominees who purchased, acquired, or held Alta Mesa shares for the beneficial

ownership of Class Members during the Class Period shall: (i) within seven (7) calendar days

of receipt of the Postcard Notice request from the Claims Administrator sufficient copies of

the Postcard Notice to forward to all such beneficial owners and within seven (7) calendar


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days of receipt of those documents forward them to all such beneficial owners; or (ii) within

seven (7) calendar days of receipt of the Postcard Notice, send a list of the names and

addresses, including email addresses where available, of all such beneficial owners to the

Claims Administrator in which event the Claims Administrator shall promptly email or mail

(where an email is unavailable) the Postcard Notice to such beneficial owners. If a nominee

elects to send the Postcard Notice to beneficial owners, such nominee is directed to email or

mail (where an email address is unavailable) the Postcard Notice within seven (7) calendar

days of receipt of those documents from the Claims Administrator, and upon such emailing

or mailing, the nominee shall send a statement to the Claims Administrator confirming that

the emailing or mailing was made as directed, and the nominee shall retain the list of names

and addresses for use in connection with any possible future notice to the Class. Upon full

compliance with these instructions, including the timely emailing or mailing of the Postcard

Notice to beneficial owners, such nominees may seek reimbursement of their reasonable

expenses actually incurred in complying with these instructions by providing the Claims

Administrator with proper documentation supporting the expenses for which reimbursement

is sought and reflecting compliance with these instructions. Reasonable out-of-pocket

expenses actually incurred in connection with the foregoing includes up to $0.03 for

providing names, addresses, and email addresses to the Claims Administrator per record; up

to a maximum of $0.03 per Postcard Notice mailed by the nominee, plus postage at the rate

used by the Claims Administrator; or $0.03 per Postcard Notice sent by email. Such properly

documented expenses incurred by nominees in compliance with the terms of these

instructions will be paid from the Settlement Fund.


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       11.    Any Postcard Notice provided by a third-party must include a link to the

website www.altamesasecuritieslitigation.com as well as contact information for the Claims

Administrator.

       12.    In order to be entitled to participate in the recovery from the Net Settlement

Fund after the Effective Date, each Class Member shall take the following action and be

subject to the following conditions:

              (a)    A properly completed and executed Proof of Claim must be submitted

                     to the Claims Administrator, at the post office box or electronic

                     mailbox indicated in the Notice and Proof of Claim, postmarked no

                     later than ninety (90) calendar days from the Notice Date. Such

                     deadline may be further extended by Order of the Court. Each Proof of

                     Claim shall be deemed to have been submitted when legibly

                     postmarked (if properly addressed and mailed by first-class mail). Any

                     Proof of Claim submitted in any other manner shall be deemed to have

                     been submitted when it was actually received by the Claims

                     Administrator at the address designated in the Notice.

              (b)    The Proof of Claim submitted by each Class Member must satisfy the

                     following conditions: (i) it must be properly filled out, signed, and

                     submitted in a timely manner in accordance with the provisions of the

                     preceding subparagraph; (ii) it must be accompanied by adequate

                     supporting documentation for the transactions reported therein, in the

                     form of broker confirmation slips, broker account statements, an


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                    authorized statement from the broker containing the transactional

                    information found in a broker confirmation slip, or such other

                    documentation as is deemed adequate by the Claims Administrator or

                    Class Counsel; (iii) if the person executing the Proof of Claim is acting

                    in a representative capacity, a certification of his current authority to

                    act on behalf of the Class Member must be provided with the Proof of

                    Claim; and (iv) the Proof of Claim must be complete and contain no

                    material deletions or modifications of any of the printed matter

                    contained therein and must be signed under penalty of perjury.

             (c)    Once the Claims Administrator has considered a timely submitted

                    Proof of Claim, it shall determine whether such claim is valid, deficient

                    or rejected. For each claim determined to be either deficient or rejected,

                    the Claims Administrator shall send a deficiency letter or rejection

                    letter as appropriate, describing the basis on which the claim was so

                    determined. Persons who timely submit a Proof of Claim that is

                    deficient or otherwise rejected shall be afforded a reasonable time (at

                    least twenty (20) calendar days) to cure such deficiency if it shall

                    appear that such deficiency may be cured.

             (d)    For the filing of and all determinations concerning their Proof of Claim,

                    each Class Member shall submit to the jurisdiction of the Court.

      13.    Any Class Member who does not submit a valid Proof of Claim within the time

provided for shall be barred from sharing in the distribution of the proceeds of the Net


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Settlement Fund, but will in all other respects be subject to and bound by the provisions of

the Stipulations and the Judgment, if entered. Notwithstanding the foregoing, Class Counsel

shall have the discretion (but not an obligation) to accept late-submitted claims for

processing by the Claims Administrator so long as distribution of the Net Settlement Fund to

Authorized Claimants is not materially delayed thereby, but will bear no liability for failing

to accept such late claims.

       14.    Any member of the Class may enter an appearance in the Action, at their own

expense, individually or through counsel of their own choice. If they do not enter an

appearance, they will be represented by Class Counsel.

       15.    All Class Members shall be bound by all determinations and judgments in this

Action, whether favorable or unfavorable, unless such persons previously requested to be

excluded, or “opted out,” from the Class. Pursuant to the Court’s Order dated March 27,

2024, a Class Member wishing to be excluded from the Class had to submit to the Claims

Administrator a request for exclusion (“Request for Exclusion”), by first-class mail, or

otherwise hand-deliver it, such that it was postmarked no later than May 17, 2024, to the

address listed in the notice of class certification disseminated pursuant to the Court’s Order

Granting Class Representatives’ Uncontested Motion for Entry of an Order Approving

Notice of Pendency of Class Action, Notice Procedures and Appointment of Notice

Administrator (ECF 721). All Persons who submitted valid and timely Requests for

Exclusion shall have no rights under the Stipulations, shall not share in the distribution of the

Net Settlement Fund, and shall not be bound by the Stipulations or any Final Judgment. The

Court has determined that no further exclusion opportunity is necessary or appropriate in


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connection with the Settlement. Any Class Member who did not submit a valid and timely

written Request for Exclusion as provided by this paragraph shall be bound by the

Stipulations and the Judgment, if entered.

       16.    The Court will consider comments or objections to the Settlement or any of the

separate Stipulations that comprise the Settlement, the Plan of Allocation, or Class Counsel’s

request for an award of attorneys’ fees and expenses, including awards to Class Plaintiffs

pursuant to 15 U.S.C. §78u-4(a)(4), only if such comments or objections and any supporting

papers are delivered by hand or sent by First-Class Mail such that they are received, not

simply postmarked, on or before twenty-one (21) calendar days prior to the Settlement

Hearing, by Entwistle & Cappucci LLP, Attn: Andrew J. Entwistle or Robert Cappucci, 500

West 2nd Street, Suite 1900, Austin, TX 78701; Robbins Geller Rudman & Dowd LLP,

Attn: Trig R. Smith, 655 West Broadway, Suite 1900, San Diego, CA 92101; Latham &

Watkins LLP, Attn: J. Christian Word, 555 Eleventh Street, NW, Suite 1000, Washington,

D.C. 20004; Winston & Strawn LLP, Attn: Walter M. Berger, 800 Capitol Street, Suite

2400, Houston, TX 77002-2925, and filed said objections, papers, and briefs with the Clerk

of the United States District Court for the Southern District of Texas, 515 Rusk Street,

Houston, TX 77002 on or before twenty-one (21) calendar days prior to the Settlement

Hearing. Attendance at the Settlement Hearing is not necessary, but any Person wishing to be

heard orally in opposition to the Settlement (in whole or in part), the Plan of Allocation, or

the application for attorneys’ fees and expenses is required to indicate in their written

objection whether they intend to appear at the Settlement Hearing. The notice of objection

must include documentation establishing the objecting Person’s membership in the Class,


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including the: (i) number of Alta Mesa/Silver Run shares or units held on January 22, 2018;

(ii) the number of Alta Mesa/Silver Run shares or units purchased or otherwise acquired

between August 16, 2017 and February 9, 2018, inclusive; and (iii) the number of Alta Mesa

common shares or warrants purchased or otherwise acquired between February 9, 2018 and

May 17, 2019, inclusive, and contain a statement of reasons for the objection, including

whether it applies only to the objector, to a specific subset of the Class, or to the entire Class.

The objection must identify all other class action settlements the objector and his, her, or its

counsel has previously objected to, copies of any papers, briefs, or other documents upon

which the objection is based, and contain the objector’s signature, even if represented by

counsel. Any member of the Class who does not make his, her, or its objection in the manner

provided shall be deemed to have waived such objection and shall forever be foreclosed from

making any objection to the fairness or adequacy of the Settlement as set forth in the

Stipulations, to the Plan of Allocation, or to the award of attorneys’ fees, expenses to Class

Counsel or awards to Class Plaintiffs unless otherwise ordered by the Court. Class Members

do not need to appear at the Settlement Hearing or take any other action to indicate their

approval.

       17.     All funds held by the Escrow Agent shall be deemed and considered to be in

custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until

such time as such funds shall be distributed pursuant to the Stipulations and/or further

order(s) of the Court.

       18.     All opening briefs and supporting documents in support of the Settlement, the

Plan of Allocation, and any application by Class Counsel for attorneys’ fees and expenses


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and awards to Class Plaintiffs shall be filed and served no later than thirty-five (35) calendar

                                         March 26 2025. Replies to any objections shall be
days before the Settlement Hearing, or __________,

filed and served at least seven (7) calendar days prior to the Settlement Hearing, or

April 23
__________, 2025.

       19.    The Settling Defendants’ Releasees shall have no responsibility, interest in, or

liability whatsoever for the Plan of Allocation or any application for attorneys’ fees or

expenses submitted by Class Counsel, and such matters will be considered separately from

the fairness, reasonableness, and adequacy of the Settlement. Any order or proceeding

relating to the Plan of Allocation or any application for attorneys’ fees or expenses, or

awards to Class Plaintiffs pursuant to 15 U.S.C. §78u-4(a)(4) or any appeal from any order

relating thereto or reversal or modification thereof, shall not operate to terminate or cancel

the Stipulations, or affect or delay the finality of the Judgment approving the Stipulations

and the Settlement of the Action.

       20.    At or after the Settlement Hearing, the Court shall determine whether the Plan

of Allocation proposed by Class Counsel, and any application for attorneys’ fees or payment

of expenses shall be approved.

       21.    All reasonable expenses incurred in identifying and notifying Class Members,

as well as administering the Settlement Fund, shall be paid as set forth in the Stipulations.

       22.    Neither the Stipulations, nor any of their terms or provisions, nor any of the

negotiations or proceedings connected with them, shall be construed as an admission or

concession by the Defendants of the truth of any of the allegations in the Action, or of any

liability, fault, or wrongdoing of any kind.


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       23.    If the Settlement set forth is not approved or consummated for any reason

whatsoever (in whole or in part), the Stipulations and Settlement and all proceedings had in

connection therewith shall be without prejudice to the rights of the Settling Parties status quo

ante as set forth in the Stipulations as applicable.

       24.    Pending final determination of whether the proposed Settlement should be

approved, neither the Class Plaintiffs, nor any Class Member, directly or indirectly,

representatively, or in any other capacity, shall institute, commence, or prosecute against any

of the Settling Parties, any action or proceeding in any court, tribunal, or other forum

asserting any of the Released Plaintiffs’ Claims.

       IT IS SO ORDERED.

         January 17, 2025
DATED: _________________                    ______________________________________
                                            THE HONORABLE GEORGE C. HANKS, JR.
                                            UNITED STATES DISTRICT JUDGE




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                     EXHIBIT A-1
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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


IN RE ALTA MESA RESOURCES, INC.        Civil Action No. 4:19-cv-00957
SECURITIES LITIGATION



        NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION

                              EXHIBIT A-1
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  A Federal Court Authorized This Notice. This Is Not a Solicitation from a Lawyer.

NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights
may be affected by the above-captioned class action lawsuit pending in this Court (the
“Action”) if you (1) held shares of Alta Mesa Resources, Inc. (“Alta Mesa”) f/k/a Silver
Run Acquisition Corporation II (“Silver Run II”) common stock and/or Silver Run II
units on January 22, 2018; or (2) purchased or otherwise acquired securities of Alta
Mesa/Silver Run II from August 16, 2017 through May 17, 2019, inclusive (the “Class
Period”).

NOTICE OF SETTLEMENT: Please also be advised that Class Plaintiffs FNY
Partners Fund LP, FNY Managed Accounts, LLC, Paul J. Burbach, United Association
National Pension Fund (f/k/a Plumbers and Pipefitters National Pension Fund), and
Camelot Event Driven Fund, a series of Frank Funds Trust, on behalf of the Class (as
defined in ¶ 1 below), have reached separate proposed settlements of the Action with
four groups of Defendants that collectively total $126.3 million in cash that will resolve
all claims against all Defendants in the Action (the “Settlement”).

This Notice explains important rights you may have, including your possible receipt of
cash from the Settlement. Your legal rights will be affected whether or not you act.
Please read this Notice carefully.

       1.      Description of the Action and the Class: This Notice relates to a proposed
Settlement reached in a class action lawsuit pending against the following defendants:
Riverstone Holdings LLC, Harlan H. Chappelle, Stephen S. Coats, Michael E. Ellis, William
D. Gutermuth, James T. Hackett, Pierre F. Lapeyre, Jr., David M. Leuschen, Donald R.
Sinclair, Ronald J. Smith, Jeffrey H. Tepper, Thomas J. Walker, Diana J. Walters, Alta Mesa
Resources, Inc., ARM Energy Holdings, LLC, Bayou City Energy Management LLC,
William McMullen, HPS Investment Partners, LLC, and Donald Dimitrievich
(“Defendants”) (collectively, with Class Plaintiffs, the “Settling Parties”). The proposed
global Settlement, if approved by the Court, will apply to the following Class (the “Class”):
all persons and entities who: (1) held shares of Alta Mesa Resources, Inc. (“Alta Mesa”)
f/k/a Silver Run Acquisition Corporation II (“Silver Run II”) common stock (CUSIP
02133L109; ticker “SRUN”), and/or Silver Run II Units (“Silver Run Units”) (CUSIP
82812A202; ticker “SRUNU”) on the January 22, 2018 record date that were entitled to vote
on Alta Mesa’s proposed transaction with Alta Mesa Holdings and Kingfisher Midstream
(the “Business Combination”); or (2) purchased or otherwise acquired Alta Mesa (Silver Run
II) common stock (CUSIP 02133L109; ticker “SRUN”), Alta Mesa (Silver Run II) warrants
(CUSIP 02133L117; ticker “SRUNW”), and/or Silver Run II Units (“Silver Run Units”)
(CUSIP 82812A202; ticker “SRUNU”) on or after August 16, 2017 and prior to the closing
of the Business Combination on February 9, 2018; or (3) purchased or otherwise acquired
Alta Mesa common stock (CUSIP 02133L109; ticker “AMR”) or Alta Mesa warrants
(CUSIP 02133L117; ticker “AMRWW”) (other than those automatically converted from
Silver Run Units by operation of the Business Combination) between the February 9, 2018
closing of the Business Combination and May 17, 2019 (inclusive). Excluded from the Class
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are: (i) Defendants; (ii) the officers and directors of Alta Mesa, Silver Run II, AMH, KFM,
and the Control Entity Defendants during the Class Period (the “Excluded Officers and
Directors”); (iii) members of the immediate families of the Individual Defendants and of the
Excluded Officers and Directors; (iv) any entity in which any Defendant, any of the
Excluded Officers and Directors or any of their respective immediate family members has
and/or had during the Class Period a controlling interest; (v) Defendants’ liability insurance
carriers; (vi) any affiliates, parents, or subsidiaries of Alta Mesa, Silver Run II, AMH, KFM,
or the Control Entity Defendants; (vii) all Alta Mesa, Silver Run II, AMH, KFM, and
Control Entity Defendants’ plans that are covered by ERISA; (viii) and the legal
representatives, heirs, agents, affiliates, successors-in-interest or assigns of any excluded
person or entity, in their respective capacity as such. Anyone who previously validly
excluded themselves from the class certified by the Court is not a member of the Class. To
have excluded yourself from the Class, you must have mailed a written request for exclusion
so that it was postmarked by May 17, 2024, in accordance with the instructions set forth in
the notice of class certification disseminated pursuant to Court order. No further exclusion
opportunity is being provided under the Settlement. Also excluded from the Class are
plaintiffs in Alyeska Master Fund, L.P., et al. v. Alta Mesa Resources, Inc., et al., Case No.
4:22-cv-01189 and in Orbis Global Equity LE Fund (Australia Registered), et al. v. Alta
Mesa Resources, Inc., et al., Case No. 4:22-cv-02590. Anyone with questions as to whether
or not they are excluded from the Class may call the Claims Administrator toll-free at 1-855-
208-4124.

       2.      Statement of Class’s Recovery: Subject to Court approval, and as described
more fully in ¶¶ 3-6 below, Class Plaintiffs, on behalf of the Class, have agreed to settle all
Released Plaintiffs’ Claims (as defined in each of the Stipulations of Settlement
(“Stipulations”)) against Defendants and other Settling Defendants’ Releasees (as defined in
each of the Stipulations) in exchange for a settlement payment of $126.3 million in cash (the
“Settlement Amount”). The Net Settlement Fund (the Settlement Fund less the amount of the
Fee and Expense Award and any Plaintiffs’ Award, if requested, and to the extent allowed by
the Court, Taxes and Tax Expenses, Notice and Administration Expenses, any other fees or
expenses approved by the Court) will be distributed in accordance with a plan of allocation
(the “Plan of Allocation”) that will be approved by the Court and will determine how the Net
Settlement Fund shall be distributed to members of the Class. The Plan of Allocation is a
basis for determining the relative positions of Class Members for purposes of allocating the
Net Settlement Fund. The proposed Plan of Allocation is included in this Notice, and may be
modified by the Court without further notice.

        3.    Statement of Average Distribution Per Share: The Settlement Fund consists
of the $126.3 million Settlement Amount plus interest earned. Assuming all potential Class
Members elect to participate, the estimated average recovery is $0.68 per damaged common
share and $0.17 per warrant before fees and expenses. Class Members may recover more or
less than this amount depending on, among other factors, the aggregate value of the
Recognized Claims represented by valid and acceptable Claim Forms as explained in the
Plan of Allocation; what type of security and when their shares were purchased or acquired
and the price at the time of purchase or acquisition; whether the shares were sold, and if so,
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when they were sold and for how much. In addition, the actual recovery of Class Members
may be further reduced by the payment of fees and costs from the Settlement Fund, as
approved by the Court.

        4.     Statement of the Parties’ Position on Damages: Defendants deny all claims
of wrongdoing, that they engaged in any wrongdoing, that they are liable to Class Plaintiffs
and/or the Class and that Class Plaintiffs or other members of the Class suffered any injury.
Moreover, the parties do not agree on the amount of recoverable damages if Class Plaintiffs
were to prevail on each of the claims. The issues on which the parties disagree include, but
are not limited to, whether: (i) the statements made or facts allegedly omitted were material,
false, or misleading; (ii) Defendants are otherwise liable under the securities laws for those
statements or omissions; and (iii) all or part of the damages allegedly suffered by members
of the Class were caused by economic conditions or factors other than the allegedly false or
misleading statements or omissions.

       5.      Statement of Attorneys’ Fees and Expenses Sought: Class Counsel will
apply to the Court for an award of attorneys’ fees from the Settlement Fund of no more than
33% of the Settlement Amount, plus interest earned at the same rate and for the same period
as earned by the Settlement Fund. In addition, Class Counsel also will apply to the Court for
payment from the Settlement Fund for Class Counsel’s litigation expenses, in a total amount
not to exceed $7 million, plus interest earned at the same rate and for the same period as
earned by the Settlement Fund. If the Court approves Class Counsel’s fee and expense
application, the estimated average cost per damaged common share is $0.26 and per warrant
is $0.06. In addition, Class Counsel will apply for an award to Class Plaintiffs in an amount
not to exceed $175,000 in the aggregate pursuant to 15 U.S.C. §78u-4(a)(4) in connection
with their representation of the Class.

       6.     Identification of Attorneys’ Representatives: Class Plaintiffs and the Class
are being represented by Entwistle & Cappucci LLP and Robbins Geller Rudman & Dowd
LLP (“Class Counsel”). Any questions regarding the Settlement should be directed to
Andrew J. Entwistle or Robert N. Cappucci at Entwistle & Cappucci LLP, 500 W. 2nd
Street, Suite 1900, Austin, TX 78701, 1-512-710-5960, aentwistle@entwistle-law.com,
rcappucci@entwistle-law.com; or Trig R. Smith at Robbins Geller Rudman & Dowd LLP,
655 W. Broadway, Suite 1900, San Diego, CA 92101, 1-800-449-4900,
settlementinfo@rgrdlaw.com.

         YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT

 DO NOTHING                                 Get no payment. Remain a Class Member. Give
                                            up your rights.
 SUBMIT A CLAIM FORM                        This is the only way to be potentially eligible to
 POSTMARKED NO LATER THAN                   receive a payment. If you wish to obtain a
 [_______], 2025                            payment as a member of the Class, you will need
                                            to file a claim form (the “Claim Form” or “Proof
                                            of Claim Form”), postmarked or submitted
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                              online no later than _______ __, 2025.
 OBJECT TO THE SETTLEMENT SO Write to the Court about your view on the
 THAT IT IS RECEIVED NO LATER Settlement, or why you do not think the
 THAN [_______], 2025         Settlement is fair to the Class.

                                            If you did not exclude yourself from the Class by
                                            May 17, 2024, you may object to the Settlement,
                                            the Plan of Allocation, or the request for
                                            attorneys’ fees and litigation expenses. You must
                                            still submit a Claim Form in order to be
                                            potentially eligible to receive any money from
                                            the Net Settlement Fund.
 GO TO THE HEARING ON                       Ask to speak in Court about the fairness of the
 [_______], 2025, AT __:__ _.M.,            Settlement, the proposed Plan of Allocation,
 AND FILE A NOTICE OF                       and/or the request for attorneys’ fees and
 INTENTION TO APPEAR SO THAT                litigation expenses.
 IT IS RECEIVED NO LATER THAN
 [_______], 2025
                          WHAT THIS NOTICE CONTAINS
 Why Did I Get This Notice?                                                     Page __
 What Is This Case About? What Has Happened So Far?                             Page __
 How Do I Know If I Am Affected By The Settlement?                              Page __
 What Are Class Representatives’ Reasons For The Settlement?                    Page __
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 How Do I Participate In The Settlement?                                        Page __
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 When And Where Will The Court Decide Whether To Approve The                    Page __
 Settlement? Do I Have To Come To The Hearing?
 May I Speak At The Hearing If I Do Not Like The Settlement?
 What If I Bought Shares On Someone Else’s Behalf?                              Page __
 Can I See The Court File? Whom Should I Contact If I Have Questions?           Page __

                           WHY DID I GET THIS NOTICE?

       7.    The purpose of this Notice is to inform you about: (i) this Action; (ii) the terms
of the proposed Settlement; and (iii) your rights in connection with a hearing to be held
before the United States District Court, Southern District of Texas (the “Court”), on
_________, 2025, at____ _.m., to consider the fairness, reasonableness, and adequacy of the
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Settlement and related matters. This Notice also describes the steps to be taken by those who
wish to seek to be potentially eligible to share in the distribution of the Net Settlement Fund
in the event the Settlement is approved by the Court.

        8.     A class action is a type of lawsuit in which the claims of a number of
individuals are resolved together, thus providing the class members with both consistency
and efficiency. In a class action lawsuit, the Court selects one or more people, known as
class representatives, to sue on behalf of all people with similar claims, commonly known as
the class or the class members. In the Action, the Court has certified the Class and appointed
Class Plaintiffs as the representatives of the Class.

        9.     The Court in charge of this case is the United States District Court for the
Southern District of Texas, and the case is known as In re Alta Mesa Resources, Inc.
Securities Litigation, No. 4:19-cv-00957 (S.D. Tex.). The judge presiding over this case is
the Honorable George C. Hanks, Jr., United States District Judge. The people who are suing
are called Class Plaintiffs, and those who are being sued are called Defendants. In this case,
the Defendants are Riverstone Holdings LLC, Harlan H. Chappelle, Stephen S. Coats,
Michael E. Ellis, William D. Gutermuth, James T. Hackett, Pierre F. Lapeyre, Jr., David M.
Leuschen, Donald R. Sinclair, Ronald Smith, Jeffrey H. Tepper, Thomas J. Walker, Diana J.
Walters, Alta Mesa Resources, Inc., ARM Energy Holdings, LLC, Bayou City Energy
Management LLC, William McMullen, HPS Investment Partners, LLC, and Donald
Dimitrievich.

        10.    This Notice explains the lawsuit, the Settlement, your legal rights, what
benefits are available, who is eligible for them, and how to get them. It also informs you of
the terms of the proposed Settlement, and of a hearing to be held by the Court to consider,
among other things, the fairness, reasonableness, and adequacy of the proposed Settlement,
the proposed Plan of Allocation, and the application by Class Counsel for attorneys’ fees and
litigation expenses (the “Settlement Hearing”).

       11.    The Court has determined to conduct a single Settlement Hearing on ______,
2025, at __:__ _.m., at the United States District Court, Southern District of Texas, Houston
Division, Bob Casey United States Courthouse, 515 Rusk Street, Houston, TX 77002, for the
following purposes:

              (a)   to determine whether the proposed Settlement on the terms and
conditions provided for in the respective Stipulations is fair, reasonable, and adequate and
should be approved by the Court;

              (b)    to determine whether the Judgment as provided for under the
Stipulations should be entered;

              (c)    to determine whether the proposed Plan of Allocation for the net
proceeds of the Settlement is fair and reasonable and should be approved by the Court;


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              (d)    to determine whether the application by Class Counsel for an award of
attorneys’ fees and litigation expenses (including awards to Class Plaintiffs pursuant to
15 U.S.C. §78u-4(a)(4)) should be approved; and

              (e)     to rule upon such other matters as the Court may deem appropriate.

        12.    This Notice does not express any opinion by the Court concerning the merits of
any claim in the Action, and the Court still has to decide whether to approve the Settlement.
If the Court approves the Settlement, payments to Authorized Claimants will be made after
appeals, if any, are resolved, and after the completion of all claims processing. This process
takes time. Please be patient.

       WHAT IS THIS CASE ABOUT? WHAT HAS HAPPENED SO FAR?

       13.     This is a securities class action against Defendants for alleged violations of the
federal securities laws. Class Plaintiffs allege that certain Defendants made material
misrepresentations and omissions of material facts in the Definitive Proxy Statement
(“Proxy”) issued in connection with the Business Combination in which Silver Run II “de-
SPACed,” combining with Alta Mesa Holdings and Kingfisher Midstream to become a
single public company. Class Plaintiffs also allege that certain Defendants made material
misrepresentations and omissions of material facts in other public statements during the
Class Period. Defendants deny the allegations of wrongdoing asserted in the Action and deny
any liability whatsoever to any members of the Class.

       14.    On January 15, 2020, the Court consolidated three related federal securities
class actions, appointed Lead Plaintiffs to lead the consolidated Action, and appointed
Entwistle & Cappucci LLP and Robbins Geller Rudman & Dowd LLP as co-Lead Counsel.

       15.     On April 6, 2020, Class Plaintiffs filed the Second Corrected Consolidated
Amended Complaint against all Defendants except AMR, alleging that those Defendants
violated, variously, Sections 10(b), 14(a) and 20(a) of the Securities Exchange Act of 1934.
On March 31, 2021, the Court denied Defendants’ eight separate motions to dismiss the
Complaint. The Court issued a Memorandum Opinion and Order regarding the motions to
dismiss on April 14, 2021.

      16.    On May 14, 2021, Defendants (other than AMR, which was in bankruptcy and
was not then a party) filed their Answers to the Second Corrected Consolidated Amended
Complaint, denying all wrongdoing and asserting affirmative and other defenses. (Two
defendants amended their Answers on June 2, 2021).

       17.    Please note that this Notice does not fully describe all claims and defenses
asserted by the parties. The section entitled “Can I See the Court File? Whom Should I
Contact if I Have Questions” describes the process by which you can obtain additional
information about the Action and the claims and defenses asserted.

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       18.    On July 30, 2021, Class Plaintiffs filed their motion for class certification.

      19.     On December 6, 2021, Class Plaintiffs filed their Third Consolidated Amended
Complaint (“TAC”), which added claims against AMR. (Class Plaintiffs had obtained
permission from the bankruptcy court to bring certain claims against AMR, after the Second
Corrected Consolidated Amended Complaint was filed). AMR filed its Answer on January 5,
2022.

      20.    As mentioned above, the Court entered an order on January 24, 2022 certifying
the Action as a class action, appointing Class Plaintiffs as Class Representatives, and
appointing co-Lead Counsel Entwistle & Cappucci LLP and Robbins Geller Rudman &
Dowd LLP as Class Counsel.

        21.    On November 30, 2022, the Court consolidated the class action with two
individual actions that were filed earlier in 2022 (but after the Class was certified). The
individual actions asserted certain of the same claims as Class Plaintiffs’, and were based on
similar but not identical allegations, in addition to certain claims that apply only to the
plaintiffs in those actions. The two individual actions were subsequently settled and
dismissed.

        22.    The parties completed fact and expert discovery in 2023 and proceeded to a
jury trial in November 2024 against a number of Defendants. Class Plaintiffs reached
settlements with three groups of Defendants shortly before trial, and with the final group
prior to the jury reaching a verdict.

        23.     Neither the Court nor a jury have made a ruling on the merits of Class
Plaintiffs’ allegations or on Defendants’ denials and defenses. By authorizing this Notice, the
Court is not suggesting that the Class Plaintiffs would win or lose this case.

       24.     In the course of the Action, the Settling Parties engaged the services of the
Honorable Layn R. Phillips (Ret.), a nationally recognized mediator. The Settling Parties
engaged in settlement discussions with Judge Phillips on multiple occasions and ultimately
separate agreements were reached by the four groups of Defendants to settle the Action
collectively totaling $126.3 million.

       25.   Class Plaintiffs sought and obtained an order granting preliminary approval of
the Settlement and permitting notice to the Class, which was entered on January ____, 2025.

        HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?

       26.     If you are a member of the Class, you are subject to the Settlement unless you
previously timely requested to be excluded as the Settlement does not provide for an
additional exclusion opportunity. The Class consists of all persons and entities who: (1) held
shares of Alta Mesa (Silver Run II) common stock and/or Silver Run II Units on January 22,
2018; or (2) purchased or otherwise acquired securities of Alta Mesa/Silver Run II from
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August 16, 2017 through May 17, 2019, inclusive. Anyone with questions as to whether or
not they are excluded from the Class may call the Claims Administrator toll-free at 1-855-
208-4124.

       RECEIPT OF THIS NOTICE OR THE POSTCARD NOTICE DOES NOT
       NECESSARILY MEAN THAT YOU ARE A CLASS MEMBER OR THAT
       YOU ARE ENTITLED TO RECEIVE PROCEEDS FROM THE
       SETTLEMENT. IF YOU WISH TO BE POTENTIALLY ELIGIBLE TO
       RECEIVE A DISTRIBUTION OF THE SETTLEMENT PROCEEDS, YOU
       MUST COMPLETE, SIGN, AND SUBMIT THE CLAIM FORM
       POSTMARKED            OR SUBMITTED      ONLINE      (AT
       WWW.ALTAMESASECURITIESLITIGATION.COM) NO LATER THAN
       [____________], 2025.

    WHAT ARE CLASS PLAINTIFFS’ REASONS FOR THE SETTLEMENT?

       27.    Class Plaintiffs and Class Counsel believe that the claims asserted against
Defendants have merit. Class Plaintiffs and Class Counsel recognize, however, the risk of
pursuing their claims against Defendants through trial and appeals, as well as the difficulties
in establishing liability and damages. Class Plaintiffs and subsequent Class Counsel have
considered the amount of the Settlement, as well as the uncertain outcome and risk in
complex lawsuits like this one. Such risks include, in particular, the risk that Class Plaintiffs
would be unsuccessful in proving at trial that Defendants’ alleged misstatements were
materially false and misleading, made with scienter (that is, the requisite state of mind), or
caused compensable damages to the Class.

        28.    In light of the amount of the Settlement and the immediacy of recovery to the
Class, Class Plaintiffs and Class Counsel believe that the proposed Settlement is fair,
reasonable and adequate, and in the best interests of the Class. Class Plaintiffs and Class
Counsel believe that the Settlement provides a substantial benefit now, namely $126.3
million in cash (less the various deductions described in this Notice), as compared to the risk
that the claims would produce a smaller recovery, or no recovery after trial and any appeals,
possibly years in the future.

       29.    Defendants have denied and continue to deny each and all of the claims alleged
by Class Plaintiffs in the Action. Defendants expressly have denied and continue to deny all
charges of wrongdoing or liability against them arising out of any of the conduct, statements,
acts or omissions alleged, or that could have been alleged, in the Action. Defendants also
have denied and continue to deny, among other things, the allegations that Class Plaintiffs or
the Class have suffered any damage, that Class Plaintiffs or the Class were harmed by the
conduct alleged in the Action, or that the Action is properly certifiable as a class action.

         WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?

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       30.     If there were no Settlement and Class Plaintiffs failed to establish any essential
legal or factual element of the alleged claims at trial, neither Class Plaintiffs nor the Class
would recover anything from Defendants. Also, if Defendants were successful in proving
any of their defenses, the Class likely would recover substantially less than the amount
provided in the Settlement, or nothing at all.

                           HOW MUCH WILL MY PAYMENT BE?


        31.    Defendants have agreed to pay or cause to be paid a total of One Hundred
Twenty Six Million and Three Hundred Thousand Dollars ($126,300,000.00) in cash into
escrow for the benefit of the Class. At this time, it is not possible to make any determination
as to how much individual Class Members may receive from the Settlement. Class Plaintiffs
have proposed a plan for allocating the Net Settlement Fund to those Class Members who
timely submit valid Proof of Claim Forms. The Plan of Allocation proposed by Class
Plaintiffs is set forth below, and additional information is available on the case-specific
website, www.AltaMesaSecuritiesLitigation.com.

       32.     Payment pursuant to the Plan of Allocation shall be conclusive against all
Authorized Claimants. No person or entity shall have any claim based on distributions made
substantially in accordance with the Stipulations and the Settlement contained therein, the
Plan of Allocation, or further order(s) of the Court against Class Counsel, Class Plaintiffs,
Class Members, the Claims Administrator, Defendants and the other Settling Defendants’
Releasees (as defined in the Stipulations), or any person or entity designated by Class
Counsel. All members of the Class who fail to timely submit an acceptable Claim Form by
the deadline set by the Court, or such other deadline as may be ordered by the Court, or
otherwise allowed, shall be forever barred from receiving any payments pursuant to the
Settlement, but will in all other respects be subject to and bound by the terms of the
Settlement, including Class Members’ release of all Released Plaintiffs’ Claims.

      33.     The Court has reserved jurisdiction to allow, disallow, or adjust on equitable
grounds the claim of any member of the Class.

       34.     The Plan of Allocation set forth below is the proposed plan submitted by Class
Plaintiffs and Class Counsel for the Court’s approval. The Court may approve this plan as
proposed or it may modify it without further notice to the Class.

      35.     Each claimant shall be deemed to have submitted to the jurisdiction of the
United States District Court for the Southern District of Texas, with respect to his, her, or its
Claim Form.

       36.     Persons and entities that excluded themselves from the Class will not be
eligible to receive a distribution from the Net Settlement Fund and should not submit Proof
of Claim Forms. To have excluded yourself from the Class, you must have mailed a written
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request for exclusion so that it was postmarked by May 17, 2024, in accordance with the
instructions set forth in the notice of class certification disseminated pursuant to Court order.
No further exclusion opportunity is being provided under the Settlement.

                                 PLAN OF ALLOCATION


       37.     The Settlement Amount of $126,300,000 together with any interest earned
thereon is the “Settlement Fund.” The Settlement Fund, less all taxes, tax expenses, notice
and claims administration expenses, and approved fees and expenses (the “Net Settlement
Fund”) shall be distributed to Class Members who submit timely and valid Proof of Claim
Forms to the Claims Administrator (“Authorized Claimants”).

        38.   The objective of the Plan of Allocation is to equitably distribute the Net
Settlement Fund among Class Members based on their respective alleged economic losses
resulting from the securities law violations alleged in the Action.

        39.     In this case, Class Plaintiffs allege that Defendants made materially false and
misleading statements and omissions during the Class Period, which had the effect of
artificially inflating the trading prices of Alta Mesa stock, warrants, and units (each Alta
Mesa unit comprised one share of Alta Mesa stock and one-third of one Alta Mesa warrant).
Class Plaintiffs allege that corrective information was released to the market, resulting in
potentially recoverable damages (“Corrective Disclosure”) on March 29, 2018, April 2,
2018, April 3, 2018, August 14, 2018, August 15, 2018, November 14, 2018, November 15,
2018, February 26, 2019, February 27, 2019, and May 20, 2019. Pursuant to this Plan of
Allocation, Class Members may have a claim under Section 10(b) (“10(b) Claims”) and/or
Section 14(a) (“14(a) Claims”) of the Securities Exchange Act of 1934 (“Exchange Act”).

       40.    For Section 14(a) Claims, the Plan of Allocation is intended to compensate
investors who owned Alta Mesa stock or units on January 22, 2018 and held through the
issuance of at least one Corrective Disclosure, and have a “Recognized Loss Amount” as
described below.

       41.    For Section 10(b) Claims, the Plan of Allocation is intended to compensate
investors who purchased or otherwise acquired Alta Mesa stock, warrants, or units during the
Class Period, held through the issuance of at least one Corrective Disclosure, and have a
“Recognized Loss Amount” as described below.1

     42.    The Plan of Allocation is not a formal damages analysis. The Recognized Loss
Amount is not intended to estimate the amount a Class Member may have been able to

1
      For purposes of identifying the date of sale, any transactions in Alta Mesa stock,
warrants, and units executed outside regular trading hours for the U.S. financial markets shall
be deemed to have occurred during the next trading session.

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recover after a trial, nor to estimate the amount the Class Member will receive. It is a formula
for allocating the Net Settlement Fund among all Authorized Claimants. The allocation
below is based on the following inflation per share amounts for Class Period stock and
warrant purchases and sales as well as the statutory PSLRA 90-day look-back amount of
$0.15 per share of Alta Mesa stock and $0.0071 per Alta Mesa warrant.2

        43.     The Plan of Allocation was developed in consultation with the Class
Representatives’ damages expert. In developing the Plan of Allocation, the Class
Representatives’ damages expert calculated the estimated amount of alleged artificial
inflation in the prices of Alta Mesa stock and warrants that was allegedly proximately caused
by Defendants’ allegedly materially false and misleading statements and omissions the Court
previously found to be actionable. In calculating the estimated impact allegedly caused by
those misrepresentations and omissions, the Class Representatives’ damages expert
considered the price changes in Alta Mesa stock and warrants in reaction to the public
disclosures that allegedly corrected the alleged misrepresentation or omissions, adjusting the
price changes for factors that were attributable to market or industry forces, and for non-
fraud-related Company-specific information.

       44.     Based on the formulas stated below, a Recognized Loss Amount will be
calculated for each purchase or acquisition of Alta Mesa stock and Alta Mesa warrant during
the Class Period that is listed on the Claim Form and for which adequate documentation is
provided. If a Recognized Loss Amount calculates to a negative number or zero under the
formula below, that Recognized Loss Amount will be zero. A claimant’s “Recognized
Claim” under the Plan of Allocation will be the sum of their Recognized Loss Amounts.

      Calculation of Recognized Loss Amount for Class Members with 14(a) Claims

         45.   For each share of Alta Mesa stock owned on January 22, 2018 and:

               (a)    sold prior to March 29, 2018, the Recognized Loss Amount will be
$0.00;


2
        “In any private action arising under this [Exchange Act] in which the plaintiff seeks to
establish damages by reference to the market price of a security, the award of damages to the
plaintiff shall not exceed the difference between the purchase or sale price paid or received,
as appropriate, by the plaintiff for the subject security and the mean trading price of that
security during the 90-day period beginning on the date on which the information correcting
the misstatement or omission that is the basis for the action is disseminated to the market.”
Consistent with §28(D)(e)(1) of the Exchange Act, Recognized Loss Amounts for Alta Mesa
stock and warrants are reduced to an appropriate extent by taking into account the closing
prices of Alta Mesa stock and Alta Mesa warrants during the 90-day look-back period. The
mean (average) closing price for Alta Mesa stock during this 90-day look-back period was
$0.15 per share. The mean (average) closing price for Alta Mesa warrants during this 90-day
look-back period was $0.0071 per warrant.

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              (b)    sold from March 29, 2018 through August 16, 2019, inclusive, the
Recognized Loss Amount will be the lesser of: (i) the decline in inflation during the holding
period (as presented in Table 1 below), and (ii) the purchase price minus the sale price; or

              (c)    held as of the close of trading on August 16, 2019, the Recognized Loss
Amount will be the lesser of: (i) the decline in inflation during the holding period (as
presented in Table 1 below), or (ii) the purchase price minus $0.15, the average closing price
for Alta Mesa stock between May 20, 2019 and August 16, 2019.

      46.     Recognized Loss Amounts for Class Members with 14(a) Claims determined
pursuant to (b) and/or (c) above will be multiplied by 1.20. Among other factors, in
formulating this multiplier, the Class Representatives considered the maximum potential
damages for Class Members with 14(a) Claims, as well as the burden of proving the 14(a)
Claims, relative to the 10(b) Claims and the maximum potential damages for Class Members
with 10(b) Claims.

      Calculation of Recognized Loss Amount for Class Members with 10(b) Claims

      47.    For each share of Alta Mesa stock purchased or otherwise acquired between
January 23, 2018 and May 17, 20193 and:

               (a)   sold prior to March 29, 2018, the Recognized Loss Amount will be
$0.00;

              (b)    sold from March 29, 2018 through August 16, 2019, inclusive, the
Recognized Loss Amount will be the lesser of: (i) the decline in inflation during the holding
period (as presented in Table 2 below), and (ii) the purchase price minus the sale price; or

              (c)    held as of the close of trading on August 16, 2019, the Recognized Loss
Amount will be the lesser of: (i) the decline in inflation during the holding period (as
presented in Table 2 below), or (ii) the purchase price minus $0.15, the average closing price
for Alta Mesa stock between May 20, 2019 and August 16, 2019.

       48.    For each whole Alta Mesa warrant purchased or otherwise acquired during the
Class Period and:

               (a)   sold prior to March 29, 2018, the Recognized Loss Amount will be
$0.00;




3
       Class Members who purchased between August 16, 2017 and January 22, 2018 and
owned Alta Mesa stock or units on January 22, 2018 will only recover for the loss, if any,
calculated pursuant to their 14(a) Claim.

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              (b)    sold from March 29, 2018 through August 16, 2019, inclusive, the
Recognized Loss Amount will be the lesser of: (i) the decline in inflation during the holding
period (as presented in Table 2 below), and (ii) the purchase price minus the sale price; or

               (c)   held as of the close of trading on August 16, 2019, the Recognized Loss
Amount will be the lesser of: (i) the decline in inflation during the holding period (as
presented in Table 2 below), or (ii) the purchase price minus $0.0071, the average closing
price for Alta Mesa warrants between May 20, 2019 and August 16, 2019.

        49.    Alta Mesa units purchased during the Class Period (for 10(b) Claims) or held
on January 22, 2018 (for 14(a) Claims) that were subsequently separated into their
component securities prior to or in connection with the Business Combination (i.e., separated
into one share of Alta Mesa stock and one-third of an Alta Mesa warrant), shall be treated as
a purchase of the component securities received upon the separation of such Alta Mesa units
at a purchase price equal to the sum of the closing price of the stock and one-third the closing
price of the warrant on the day of the unit purchase.4 Class Members who held Alta Mesa
units on January 22, 2018 will not have 14(a) Claims (a Recognized Loss Amount) for the
warrant component securities, but may have 14(a) Claims (a Recognized Loss Amount) for
the stock component securities.

        50.    For Class Members who held Alta Mesa stock or warrants at the beginning of
the Class Period or made multiple purchases, acquisitions, or sales during the Class Period,
the First-In, First-Out (“FIFO”) method will be applied to such holdings, purchases,
acquisitions, and sales for purposes of calculating a claim. Under the FIFO method, sales of
Alta Mesa stock or warrants during the Class Period will be matched, in chronological order,
first against Alta Mesa stock or warrants held at the beginning of the Class Period. The
remaining sales of Alta Mesa stock or warrants during the Class Period will then be matched,
in chronological order, against Alta Mesa stock or warrants purchased or acquired during the
Class Period.

        51.    A Class Member will be eligible to receive a distribution from the Net
Settlement Fund only if a Class Member had a net overall loss, after all profits from
transactions in Alta Mesa stock and warrants described above during the Class Period are
subtracted from all losses. However, the proceeds from sales of Alta Mesa stock or warrants
that have been matched against Alta Mesa stock or warrants held at the beginning of the
Class Period will not be used in the calculation of such net loss. The Net Settlement Fund
will be distributed to Authorized Claimants on a pro rata basis, based on the relative size of
their Recognized Claims. Specifically, a “Distribution Amount” will be calculated for each
Authorized Claimant, which will be the Authorized Claimant’s Recognized Claim divided by
the total Recognized Claims of all Authorized Claimants, multiplied by the total amount in

4
  Alta Mesa units purchased prior to the Class Period that were subsequently separated into
their component securities during the Class Period are not securities eligible to participate in
the Settlement.

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the Net Settlement Fund. No distributions will be made to Authorized Claimants who would
otherwise receive a distribution of less than $10.00. Distributions will be rounded to the
nearest penny.

       52.     If a claimant suffered an overall market loss with respect to their overall
transactions in Alta Mesa stock or warrants during the Class Period but that market loss was
less than the claimant’s total Recognized Claim calculated above, then the claimant’s
Recognized Claim will be limited to the amount of the actual market loss. For purposes of
determining whether a claimant had a market gain, or suffered a market loss, with respect to
a claimant’s overall transactions of Alta Mesa stock or warrants during the Class Period, the
Claims Administrator will determine the difference between the claimant’s (i) Total Purchase
Amount5 and (ii) the sum of the Total Sales Proceeds6 and Total Holding Value.7

       53.      A purchase, acquisition, or sale of Alta Mesa stock, warrants, or units shall be
deemed to have occurred on the “contract” or “trade” date as opposed to the “settlement” or
“payment” date. All purchase, acquisition, and sale prices shall exclude any fees and
commissions. The receipt or grant by gift, devise, or operation of law of Alta Mesa stock,
warrants, or units during the Class Period shall not be deemed a purchase, acquisition or sale
of Alta Mesa stock, warrants, or units for the calculation of a claimant’s recognized claim
nor shall it be deemed an assignment of any claim relating to the purchase or acquisition of
such security unless specifically provided in the instrument of gift or assignment. The receipt
of Alta Mesa stock, warrants, or units during the Class Period in exchange for securities of

5
  The “Total Purchase Amount” is the total amount the claimant paid (excluding
commissions and other charges) for Alta Mesa stock, warrants, or units purchased or
otherwise acquired during the Class Period.
6
 The Claims Administrator will match any sales of Alta Mesa stock, warrants, or units from
the start of the Class Period through and including the close of trading on May 17, 2019 first
against the claimant’s opening position (the proceeds of those sales will not be considered
for purposes of calculating market gains or losses). The total amount received (excluding
commissions and other charges) for the remaining sales of Alta Mesa stock, warrants, or
units sold from the start of the Class Period through and including the close of trading on
May 17, 2019 will be the “Total Sales Proceeds.”
7
  The Claims Administrator will ascribe a holding value equal to $0.15 for each share of Alta
Mesa stock purchased or acquired during the Class Period and still held as of the close of
trading on May 17, 2019. The Claims Administrator will ascribe a holding value equal to
$0.0071 for each Alta Mesa warrant purchased or acquired during the Class Period and still
held as of the close of trading on May 17, 2019. A claimant’s total holding values for Alta
Mesa stock and warrants acquired during the Class Period that were still held as of the close
of trading on May 17, 2019 shall be the claimant’s “Total Holding Value.” Due to the
Business Combination and separation of the units prior to May 17, 2019, the units are not to
be ascribed a holding value.

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any other corporation or entity shall not be deemed a purchase or acquisition of Alta Mesa
stock, warrants, or units.

       54.     The date of covering a “short sale” is deemed to be the date of purchase or
acquisition of the Alta Mesa stock. The date of a “short sale” is deemed to be the date of sale
of Alta Mesa stock. Under the Plan of Allocation, however, the Recognized Loss Amount on
“short sales” is zero. In the event that a claimant has an opening short position in Alta Mesa
stock, their earliest Class Period purchases or acquisitions of Alta Mesa stock will be
matched against the opening short position, and not be entitled to a recovery, until that short
position is fully covered.




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                                       TABLE 1

           Decline in Inflation Per Share by Date of Purchase and Date of Sale




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                                      TABLE 2

         Decline in Inflation Per Warrant by Date of Purchase and Date of Sale




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        55.    After the initial distribution of the Net Settlement Fund, the Claims
Administrator shall make reasonable and diligent efforts to have Authorized Claimants cash
their distribution checks. To the extent any monies remain in the fund within a reasonable
time after the initial distribution, if Class Counsel, in consultation with the Claims
Administrator, determine that it is cost-effective to do so, the Claims Administrator shall
conduct a re-distribution of the funds remaining after payment of any unpaid fees and
expenses incurred in administering the Settlement, including for such re-distribution, to
Authorized Claimants who have cashed their initial distributions. Additional re-distributions
to Authorized Claimants who have cashed their prior checks may occur thereafter if Class
Counsel, in consultation with the Claims Administrator, determine that additional re-
distributions, after the deduction of any additional fees and expenses incurred in
administering the Settlement, including for such re-distributions, would be cost-effective. At
such time as it is determined that the re-distribution of funds remaining in the Net Settlement
Fund is not cost-effective, the remaining balance shall be contributed to Lone Star Legal Aid.

       56.     Payment pursuant to the Plan of Allocation, or such other plan of allocation as
may be approved by the Court, shall be conclusive against all Authorized Claimants. No
person shall have any claim against Class Plaintiffs, Class Counsel, Class Plaintiffs’ damages
expert, or the Claims Administrator or other agent designated by Class Counsel, or the
Settling Defendants’ Releasees and/or their respective counsel, arising from distributions
made substantially in accordance with the Stipulations, the Plan of Allocation approved by
the Court, or further orders of the Court. The Class Plaintiffs, and Defendants, their
respective counsel, Class Plaintiffs’ damages expert, and all other releasees shall have no
responsibility or liability whatsoever for the investment or distribution of the Settlement
Fund, the Net Settlement Fund, the Plan of Allocation, or the determination, administration,
calculation, or payment of any Claim Form or nonperformance of the Claims Administrator,
the payment or withholding of taxes (including interest and penalties) owed by the
Settlement Fund, or any losses incurred in connection therewith.

       57.     The Plan of Allocation set forth herein is the plan that is being proposed to the
Court for its approval by Class Plaintiffs after consultation with their damages expert. The
Court may approve this plan as proposed or it may modify the Plan of Allocation without
further notice to the Class. Any orders regarding any modification of the Plan of Allocation
will be posted on the Settlement website.

 WHAT RIGHTS AM I GIVING UP BY AGREEING TO THE SETTLEMENT?

       58.    If the Settlement is approved, the Court will enter a judgment (the
“Judgment”). The Judgment will dismiss with prejudice the claims against Defendants and
will provide that Class Plaintiffs, and all other Settling Plaintiffs’ Releasees (as defined in
the respective Stipulations) shall have waived, released, discharged, and dismissed each and
every one of the Released Plaintiffs’ Claims (as defined in the respective Stipulations),
including Unknown Claims (as defined in the respective Stipulations), against each and
every one of the Settling Defendants’ Releasees (as defined in the respective Stipulations)
and shall forever be barred and enjoined from commencing, instituting, prosecuting, or
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maintaining any and all of the Released Plaintiffs’ Claims against any and all of the Settling
Defendants’ Releasees, whether or not they execute and deliver the Claim Form or share in
the Settlement Fund. Claims to enforce the terms of the Settlement are not released.

   WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS SEEKING?
              HOW WILL THE LAWYERS BE PAID?

       59.    Class Counsel have not received any payment for their services in pursuing
claims against Defendants on behalf of the Class, nor have Class Counsel been paid for their
expenses. Before final approval of the Settlement, Class Counsel intend to apply to the Court
for an award of attorneys’ fees from the Settlement Fund of no more than 33% of the
Settlement Amount, plus interest. At the same time, Class Counsel also intend to apply for
payment from the Settlement Fund for counsel’s litigation expenses in a total amount not to
exceed $7 million, plus interest. The Court will determine the amount of the award of fees
and expenses. Class Plaintiffs may also seek awards not to exceed $175,000 in the aggregate
pursuant to 15 U.S.C. §78u-4(a)(4) in connection with their representation of the Class. Such
sums as may be approved by the Court will be paid from the Settlement Fund. Class
Members are not personally liable for any such fees or expenses.

                HOW DO I PARTICIPATE IN THE SETTLEMENT?
                         WHAT DO I NEED TO DO?

       60.     If you fall within the definition of the Class as described above, and you are
not excluded by the definition of the Class and you did not previously elect to exclude
yourself from the Class, then you are a Class Member, and you will accordingly be bound by
the proposed Settlement if the Court approves it, and by any judgment or determination of
the Court affecting the Class. If you are a Class Member, you must submit a Claim Form and
supporting documentation to establish your potential entitlement to share in the proceeds of
the Settlement. You may go to the website maintained by the Claims Administrator for the
Settlement        to      download       a      Claim       Form.      The       website       is
www.AltaMesaSecuritiesLitigation.com. You may also request a Claim Form by calling toll-
free 1-855-208-4124. Those who previously excluded themselves from the Class, and those
who do not submit timely and valid Claim Forms with adequate supporting documentation,
will not be entitled to share in the proceeds of the Settlement unless otherwise ordered by the
Court. Please retain all original records of your ownership of, or transactions in the shares, as
they may be needed to document your claim.




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       61.     As a Class Member, for purposes of the Settlement, you are represented by
Class Plaintiffs, and Class Counsel, unless you enter an appearance through counsel of your
own choice at your own expense. You are not required to retain your own counsel, but if you
choose to do so, such counsel must file a notice of appearance on your behalf.

       62.    If you wish to object to the Settlement or any of its terms, the proposed Plan of
Allocation, or Class Counsel’s application for attorneys’ fees and litigation expenses, and if
you did not previously exclude yourself from the Class, you may present your objections by
following the instructions in the section entitled, “When And Where Will The Court Decide
Whether To Approve The Settlement?” below. If you previously excluded yourself from the
Class, you are not entitled to submit an objection.

    WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE
                          THE SETTLEMENT?
                 DO I HAVE TO COME TO THE HEARING?
    MAY I SPEAK AT THE HEARING IF I DO NOT LIKE THE SETTLEMENT?

       63.    If you do not wish to object in person to the proposed Settlement, the
proposed Plan of Allocation, and/or the application for attorneys’ fees and litigation
expenses, you do not need to attend the Settlement Hearing. You can object to or
participate in the Settlement without attending the Settlement Hearing.

       64.    The Settlement Hearing will be held on ________, 2025, at __:__ _.m., before
the Honorable George C. Hanks, Jr., at the United States District Court, Southern District of
Texas, Houston Division, Bob Casey United States Courthouse, 515 Rusk Street, Houston,
TX 77002. The Court reserves the right to approve the Settlement or the Plan of Allocation,
Class Counsel’s motion for an award of attorneys’ fees and expenses, and/or any other
matter related to the Settlement at or after the Settlement Hearing without further notice to
the members of the Class.

       65.    Any Class Member who did not request exclusion such that it was postmarked
no later than May 17, 2024, may object to the Settlement, the Plan of Allocation, or Class
Counsel’s request for an award of attorneys’ fees and litigation expenses.8 You can ask the
Court to deny approval by filing an objection. You cannot ask the Court to order a different
settlement; the Court can only approve or reject the Settlement or the separate Stipulations
that comprise it. If the Court denies approval, no settlement payments will be sent out and
the lawsuit will continue.

       66.    Any objection to the proposed Settlement must be in writing. If you file a
timely written objection, you may, but are not required to, appear at the Settlement Hearing,

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       Class Plaintiffs’ initial motion papers in support of these matters will be filed with the Court
on or before _____________, 2025, and available after that date on the Settlement website,
www.AltaMesaSecuritiesLitigation.com.

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either in person or through your own attorney. If you appear through your own attorney, you
are responsible for hiring and paying that attorney. To object to any aspect of the Settlement,
you must send a signed letter saying that you wish to object to the proposed settlement in In
re Alta Mesa Resources, Inc. Securities Litigation. Include your name, address, email
address, telephone number, and your signature (even if you are represented by counsel),
identify the date(s), price(s), and number and type of securities purchased, acquired, held, or
sold of Alta Mesa securities during the Class Period, and state with specificity your
comments or the reasons why you object to the Settlement, Plan of Allocation, and/or fee
and expense application, including any legal and evidentiary support for such objection.

        67.    The objection must also include a statement of whether the objector intends to
appear at the Settlement Hearing. The objection must state whether it applies only to the
objector, to a specific subset of the Class, or to the entire Class. In addition, the objector
must identify all class action settlements to which the objector and his, her, or its counsel
have previously objected. Documentation establishing membership in the Class must consist
of copies of brokerage confirmation slips or monthly brokerage account statements, or an
authorized statement from the objector’s broker containing the transactional and holding
information found in a broker confirmation slip or account statement. Objectors who desire
to present evidence at the Settlement Hearing in support of their objection must include in
their written objection or notice of appearance the identity of any witnesses they may call to
testify and any exhibits they intend to introduce into evidence at the hearing.

       68.    Your comments or objection must be filed with the Court and mailed or
delivered to each of the following addresses such that it is received no later than _________,
2025:

          COURT                     CLASS COUNSEL                 DEFENDANTS’
                                                                     COUNSEL
CLERK OF THE COURT             Andrew J. Entwistle           J. Christian Word
UNITED STATES                  Robert N. Cappucci            Latham & Watkins LLP
DISTRICT COURT                 Entwistle & Cappucci LLP      555 Eleventh Street, NW
SOUTHERN DISTRICT              500 W. 2nd Street, Suite 1900 Suite 1000
OF TEXAS                       Austin, TX 78701              Washington, D.C. 20004
Bob Casey United States        1-512-710-5960
Courthouse                     aentwistle@entwistle-         Walter M. Berger
515 Rusk Street                law.com                       Winston & Strawn LLP
Houston, TX 77002              rcappucci@entwistle-law.com 800 Capitol Street, Suite
                               Trig R. Smith                 2400
                               Robbins Geller Rudman & Houston, TX 77002-2925
                               Dowd LLP
                               655 W. Broadway, Suite 1900
                               San Diego, CA 92101
                               1-800-449-4900,
                               settlementinfo@rgrdlaw.com

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       69.   You may not object to the Settlement or any aspect of it, if you previously
excluded yourself from the Class. To have excluded yourself from the Class, you must have
mailed a written request for exclusion so that it was postmarked by May 17, 2024, in
accordance with the instructions set forth in the notice of class certification disseminated
pursuant to Court order. No further exclusion opportunity is being provided under the
Settlement.

       70.    You may file a written objection without having to appear at the Settlement
Hearing. You may not appear at the Settlement Hearing to present your objection, however,
unless you have first filed a written objection in accordance with the procedures described
above, unless the Court orders otherwise.

       71.     You are not required to hire an attorney to represent you in making written
objections or in appearing at the Settlement Hearing. If you decide to hire an attorney, which
will be at your own expense, however, he or she must file a notice of appearance with the
Court so that the notice is received on or before ______, 2025.

       72.    The Settlement Hearing may be adjourned by the Court without further written
notice to the Class, other than a posting of the adjournment on the Settlement website,
www.AltaMesaSecuritiesLitigation.com. If you plan to attend the Settlement Hearing, you
should confirm the date and time with Class Counsel.

       Unless the Court orders otherwise, any Class Member who does not
       object in the manner described above will be deemed to have waived any
       objection and shall be forever foreclosed from making any objection to
       the proposed Settlement, the proposed Plan of Allocation, or Class
       Counsel’s request for an award of attorneys’ fees and litigation expenses.
       Class Members do not need to appear at the hearing or take any other
       action to indicate their approval.

        WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?

       73.    Nominees who purchased, acquired, or held Alta Mesa securities for beneficial
owners who are Class Members are directed to: (i) request within seven (7) calendar days of
receipt of the Postcard Notice sufficient copies of the Postcard Notice from the Claims
Administrator to forward to all such beneficial owners; or (ii) send a list of the names and
addresses (including email addresses if available) of such beneficial owners to the Claims
Administrator within seven (7) calendar days after receipt of the Postcard Notice. If a
nominee elects to send the Postcard Notice to beneficial owners, such nominee is directed to
email or mail (where an email is unavailable) the Postcard Notice within seven (7) calendar
days of receipt of those documents from the Claims Administrator, and upon such emailing
or mailing, the nominee shall send a statement to the Claims Administrator confirming that
the emailing or mailing was made as directed, and the nominee shall retain the list of names
and addresses for use in connection with any possible future notice to the Class. Upon full
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compliance with these instructions, including the timely emailing or mailing of the Postcard
Notice to beneficial owners, such nominees may seek reimbursement of their reasonable
expenses actually incurred in complying with these instructions by providing the Claims
Administrator with proper documentation supporting the expenses for which reimbursement
is sought and reflecting compliance with these instructions, including timely emailing or
mailing of the Postcard Notice, if the nominee elected or elects to do so. Reasonable out-of-
pocket expenses actually incurred in connection with the foregoing includes up to $0.03 for
providing names, addresses, and email addresses per record; up to a maximum of $0.03 per
Postcard Notice mailed, plus postage at the rate used by the Claims Administrator; or $0.03
per Postcard Notice sent by email. Such properly documented expenses incurred by
nominees in compliance with the terms of these instructions will be paid from the Settlement
Fund. Copies of this Notice may also be obtained by calling toll-free 1-855-208-4124, and
may be downloaded from the Settlement website, www.AltaMesaSecuritiesLitigation.com.

                     CAN I SEE THE COURT FILE?
             WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

       74.     This Notice contains only a summary of the terms of the proposed Settlement.
More detailed information about the matters involved in the Action is available at
www.AltaMesaSecuritiesLitigation.com, including, among other documents, copies of the
Stipulations and Proof of Claim Form. This Notice summarizes the proposed Settlement. For
the precise terms and conditions of the Settlement, please see the Stipulations available at
www.AltaMesaSecuritiesLitigation.com, or by contacting Class Counsel below. You may
also access the Court docket in this case, for a fee, through the Court’s Public Access to
Court Electronic Records (PACER) system at https://pacer.gov, or by visiting the office of
the Clerk of the Court for the United States District Court for the Southern District of Texas,
between 8:00 a.m. and 5:00 p.m., Monday through Friday, excluding Court holidays. All
inquiries concerning this Notice or the Claim Form should be directed to:

                               Alta Mesa Securities Litigation
                               c/o JND Legal Administration
                                      P.O. Box 91218
                                    Seattle, WA 98111
                                             -or-
                                   Andrew J. Entwistle
                                   Robert N. Cappucci
                             ENTWISTLE & CAPPUCCI LLP
                              500 W. 2nd Street, Suite 1900
                                    Austin, TX 78701
                                     1-512-710-5960
                              aentwistle@entwistle-law.com
                              rcappucci@entwistle-law.com

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                                     -or-
                           Trig R. Smith
            ROBBINS GELLER RUDMAN & DOWD LLP
                  655 W. Broadway, Suite 1900
                       San Diego, CA 92101
                          1-800-449-4900
                   settlementinfo@rgrdlaw.com
                  rcappucci@entwistle-law.com
 DO NOT CALL OR WRITE THE COURT, DEFENDANTS, DEFENDANTS’
      COUNSEL, OR THE OFFICE OF THE CLERK OF COURT
                 REGARDING THIS NOTICE.

Dated: ________________                       By Order of the Court
                                              United States District Court
                                              Southern District of Texas




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                     EXHIBIT A-2
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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


IN RE ALTA MESA RESOURCES, INC.        Civil Action No. 4:19-cv-00957
SECURITIES LITIGATION



                     PROOF OF CLAIM AND RELEASE

                              EXHIBIT A-2
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I.     GENERAL INSTRUCTIONS

       1.        To recover as a Class Member based on the claims in the Action, you must

complete and, on page ___ hereof, sign this Proof of Claim and Release (“Proof of Claim”).

This Proof of Claim incorporates by reference the definitions in the Stipulations of

Settlement dated October 16, 2024, October 29, 2024, November 8, 2024, and January 6,

2025        (collectively,   the      “Stipulations”),   which       can   be   obtained    at

www.AltaMesaSecuritiesLitigation.com. If you fail to submit a properly addressed (as set

forth in paragraph 3 below) Proof of Claim, your claim may be rejected and you may be

precluded from any recovery from the Net Settlement Fund created in connection with the

proposed Settlement.

       2.        Submission of this Proof of Claim, however, does not assure that you will

share in the proceeds of the Settlement of the Action.

       3.        YOU MUST MAIL OR SUBMIT ONLINE YOUR COMPLETED AND

SIGNED PROOF OF CLAIM, ACCOMPANIED BY COPIES OF THE DOCUMENTS

REQUESTED HEREIN, ON OR BEFORE ___________, 2025, ADDRESSED AS

FOLLOWS:

                                   Alta Mesa Securities Litigation
                                        Claims Administrator
                                   c/o JND Legal Administration
                                          P.O. Box 91218
                                         Seattle, WA 98111

                                     Online Submissions:
                             www.AltaMesaSecuritiesLitigation.com

If you are NOT a Class Member, as defined in the Notice of Proposed Settlement of Class

Action (“Notice”), DO NOT submit a Proof of Claim.

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       4.     If you are a Class Member and you did not timely request exclusion from the

Class, you are bound by the terms of any judgment entered in the Action, including the

releases provided therein, WHETHER OR NOT YOU SUBMIT A PROOF OF CLAIM.

II.    CLAIMANT IDENTIFICATION

       You are a member of the Class if you: (1) held shares of Alta Mesa Resources, Inc.

(“Alta Mesa”) f/k/a Silver Run Acquisition Corporation II (“Silver Run II”) common stock

(CUSIP 02133L109; ticker “SRUN”), and/or Silver Run II Units (“Silver Run Units”)

(CUSIP 82812A202; ticker “SRUNU”) on January 22, 2018 record date that were entitled to

vote on Alta Mesa’s proposed transaction with Alta Mesa Holdings and Kingfisher

Midstream (the “Business Combination”); or (2) purchased or otherwise acquired Alta Mesa

(Silver Run II) common stock (CUSIP 02133L109; ticker “SRUN”), Alta Mesa (Silver Run

II) warrants (CUSIP 02133L117; ticker “SRUNW”), and/or Silver Run Units (CUSIP

82812A202; ticker “SRUNU”) on or after August 16, 2017 and prior to the closing of the

Business Combination on February 9, 2018; or (3) purchased or otherwise acquired Alta

Mesa common stock (CUSIP 02133L109; ticker “AMR”) or Alta Mesa warrants (CUSIP

02133L117; ticker “AMRWW”) (other than those automatically converted from Silver Run

Units by operation of the Business Combination) between the February 9, 2018 closing of

the Business Combination and May 17, 2019 (inclusive) (collectively, with Alta Mesa

(Silver Run II) common stock and Alta Mesa (Silver Run II) warrants, “Alta Mesa

Securities”), and are not otherwise excluded from the Class.

       Use Part I of this form entitled “Claimant Identification” to identify each holder,

purchaser, or acquirer of record (“nominee”) of the Alta Mesa Securities that forms the basis


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of this claim. THIS PROOF OF CLAIM MUST BE FILED BY THE ACTUAL

BENEFICIAL         PURCHASER(S)           OR      ACQUIRER(S)          OR      THE      LEGAL

REPRESENTATIVE OF SUCH PURCHASER(S) OR ACQUIRER(S) OF ALTA MESA

SECURITIES UPON WHICH THIS CLAIM IS BASED.

       All joint purchasers or acquirers must sign this Proof of Claim. Executors,

administrators, guardians, conservators, and trustees must complete and sign this claim on

behalf of persons represented by them and their authority must accompany this claim and

their titles or capacities must be stated. The last four digits of the Social Security Number (or

full Taxpayer Identification Number) and telephone number of the beneficial owner may be

used in verifying the claim. Failure to provide the foregoing information could delay

verification of your claim or result in the rejection of the claim.

       A Proof of Claim should be submitted for each separate legal entity (e.g., a claim of

joint owners should not include separate transactions of just one of the joint owners, and an

individual should not combine his or her IRA transactions with transactions made solely in

the individual’s name). Conversely, a single Proof of Claim should be submitted on behalf of

one legal entity including all transactions made by that entity, no matter how many separate

accounts that entity has (e.g., an institution with multiple brokerage accounts that the entity

has transacted in Alta Mesa Securities from August 16, 2017 through May 17, 2019,

inclusive (the “Class Period”).

III.   CLAIM FORM

       Use Part II of this form entitled “Schedule of Transactions in Alta Mesa Securities” to

supply all required details of your transaction(s). If you need more space or additional


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schedules, attach separate sheets giving all of the required information in substantially the

same form. Sign and print or type your name on each additional sheet.

       On the schedules, provide all of the requested information with respect to all of your

purchases, acquisitions, and sales of Alta Mesa Securities that took place between August 16,

2017 and May 17, 2019, inclusive, whether such transactions resulted in a profit or a loss.

You must also provide all of the requested information with respect to the number and type

of Alta Mesa Securities you held at the close of trading on August 16, 2017, January 22,

2018, and May 17, 2019. Failure to report all such transactions may result in the rejection of

your claim.

       List each transaction separately and in chronological order, by trade date, beginning

with the earliest. You must accurately provide the month, day, and year of each transaction

you list.

       The date of covering a “short sale” is deemed to be the date of purchase or other

acquisition of Alta Mesa Securities. The date of a “short sale” is deemed to be the date of

sale of Alta Mesa Securities.

       COPIES OF BROKER CONFIRMATIONS OR OTHER DOCUMENTATION OF

YOUR TRANSACTIONS IN ALTA MESA SECURITIES SHOULD BE ATTACHED TO

YOUR PROOF OF CLAIM. FAILURE TO PROVIDE THIS DOCUMENTATION COULD

DELAY VERIFICATION OF YOUR CLAIM OR RESULT IN THE REJECTION OF

YOUR CLAIM. THE PARTIES DO NOT HAVE INFORMATION ABOUT YOUR

TRANSACTIONS IN ALTA MESA SECURITIES.




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       PLEASE NOTE: As set forth in the Plan of Allocation contained in the Notice, each

Authorized Claimant shall receive his, her, its, or their pro rata share of the Net Settlement

Fund. If the prorated payment to any Authorized Claimant calculates to less than $10.00, it

will not be included in the calculation and no distribution will be made to that Authorized

Claimant.

       NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large

numbers of transactions may request, or may be requested, to submit information regarding

their transactions in electronic files. All such claimants MUST also submit a manually signed

paper Proof of Claim whether or not they also submit electronic copies. If you wish to

submit your claim electronically, you must contact the Claims Administrator at

_____________.com to obtain the required file layout. No electronic files will be considered

to have been properly submitted unless the Claims Administrator issues to the claimant a

written acknowledgment of receipt and acceptance of electronically submitted data.


                          UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF TEXAS

                                  HOUSTON DIVISION

                   In re Alta Mesa Resources, Inc. Securities Litigation

                                     No. 4:19-cv-00957

                         PROOF OF CLAIM AND RELEASE

Must Be Postmarked (if Mailed) or Received (if Submitted Online) No Later Than:

                                   ____________, 2025

                                    Please Type or Print

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     REMEMBER TO ATTACH COPIES OF BROKER CONFIRMATIONS OR

OTHER DOCUMENTATION OF YOUR TRANSACTIONS IN ALTA MESA

SECURITIES. FAILURE TO PROVIDE THIS DOCUMENTATION COULD DELAY

VERIFICATION OF YOUR CLAIM OR RESULT IN THE REJECTION OF YOUR

CLAIM.




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PART II:     SCHEDULE OF TRANSACTIONS IN ALTA MESA SECURITIES

      A.     Number of Alta Mesa shares or units held at the close of trading
             on August 16, 2017. If none, write “0” or “zero.” ___

      B.     Number of shares of Alta Mesa (Silver Run II) common stock
             held on January 22, 2018. If none, write “0” or “zero.” ______

      C.     Purchases or other acquisitions of Alta Mesa Securities between
             August 16, 2017 and May 17, 2019, inclusive:

Trade Date(s)      Type of Security    Number of          Total Purchase or     Proof of
Month Day Year     Shares (S),         Securities         Acquisition Price     Purchase/
(List              Warrants (W), or    Purchased or       (Excluding            Acquisition
chronologically)   Units (U)           Otherwise          commissions, taxes    Enclosed
                                       Acquired           and fees)
1.____________     1.____________      1.____________     1.____________        □ Y □ N
2.____________     2.____________      2.____________     2.____________        □ Y □ N
3.____________     3.____________      3.____________     3.____________        □ Y □ N

IMPORTANT: (i) If any purchase listed covered a “short sale,” please mark Yes: □ Yes

              (ii) If you received shares through an acquisition or merger at some date
              beginning August 16, 2017 through May 17, 2019, please identify the
              date, the share amount, and the company acquired:
                     ____/____/_____           ____________        ______________
                     MM DD YYYY                Merger Shares             Company

      D.     Sales of Alta Mesa Securities between August 16, 2017 and May
             17, 2019, inclusive:

Trade Date         Type of Security    Number of            Total Sales Price  Proof of Sale
Month Day Year     Shares (S),         Securities Sold      (Excluding         Enclosed
                   Warrants (W), or                         commissions, taxes
                   Units (U)                                and fees)
1.____________     1.____________      1.____________       1.____________       □ Y □ N
2.____________     2.____________      2.____________       2.____________       □ Y □ N
3.____________     3.____________      3.____________       3.____________       □ Y □ N




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       E.     Number of Alta Mesa Securities held at the close of trading on
              May 17, 2019: __________

                     Proof of Position Enclosed: □ Yes □ No

YOU MUST READ AND SIGN THE RELEASE ON PAGE __. FAILURE TO
SIGN THE RELEASE MAY RESULT IN A DELAY IN PROCESSING OR THE
REJECTION OF YOUR CLAIM.

IV.    SUBMISSION TO JURISDICTION OF COURT AND
       ACKNOWLEDGMENTS

       I (We) submit this Proof of Claim under the terms of the Stipulations described in the

Notice. I (We) also submit to the jurisdiction of the United States District Court for the

Southern District of Texas with respect to my (our) claim as a Class Member and for

purposes of enforcing the release set forth herein. I (We) further acknowledge that I am (we

are) bound by and subject to the terms of any judgment that may be entered in the Action. I

(We) agree to furnish additional information to the Claims Administrator to support this

claim if requested to do so. I (We) have not submitted any other claim covering the same

purchases, other acquisitions, holdings, or sales of Alta Mesa Securities during the relevant

period and know of no other person having done so on my (our) behalf.

V.     RELEASE

       1.     I (We) hereby acknowledge full and complete satisfaction of, and do hereby

fully, finally, and forever waive, release, relinquish, discharge and dismiss from the Released

Plaintiffs’ Claims each and all of the “Settling Defendants’ Releasees,” as defined in each of

the Stipulations.

       2.     “Released Plaintiffs’ Claims” is defined in each of the Stipulations.

       3.     These releases shall be of no force or effect unless and until the Court approves

the Stipulations and the Settlement becomes effective on the Effective Date.

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       4.     I (We) hereby warrant and represent that I (we) have not assigned or

transferred or purported to assign or transfer, voluntarily or involuntarily, any matter released

pursuant to this release or any other part or portion thereof.

       5.     I (We) hereby warrant and represent that I (we) have included information

about all of my (our) transactions in Alta Mesa Securities that occurred during the relevant

period as well as the number of shares held by me (us) at the close of trading on August 16,

2017, January 22, 2018, and May 17, 2019.

       I (We) declare under penalty of perjury under the laws of the United States of

America that all of the foregoing information supplied on this Proof of Claim by the

undersigned is true and correct.

       Executed this ______________ day of __________________
                                             (Month/Year)

in ___________________________________________________
         (City)                (State/Country)




                                            (Sign your name here)




                                            (Type or print your name here)




                                            (Capacity of person(s) signing,
                                            e.g., Beneficial Purchaser or Acquirer,
                                            Executor or Administrator)



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                  ACCURATE CLAIMS PROCESSING TAKES A
                      SIGNIFICANT AMOUNT OF TIME.
                     THANK YOU FOR YOUR PATIENCE.
Reminder Checklist:

      1.     Please sign the above release and acknowledgment.

      2.     Remember to attach copies of supporting documentation.

      3.     Do not send originals of certificates or other documentation as they will not be

returned.

      4.     Keep a copy of your Proof of Claim and all supporting documentation for your

records.

      5.     If you desire an acknowledgment of receipt of your Proof of Claim, please

send it Certified Mail, Return Receipt Requested.

      6.     If you move, please send your new address to the address below.

      7.     Do not use red pen or highlighter on the Proof of Claim or supporting

documentation.

       THIS PROOF OF CLAIM MUST BE SUBMITTED ONLINE OR MAILED
      NO LATER THAN ____________, 2025, ADDRESSED AS FOLLOWS:

                             Alta Mesa Securities Litigation
                                  Claims Administrator
                             c/o JND Legal Administration
                                    P.O. Box 91218
                                   Seattle, WA 98111

             Online Submissions: www.AltaMesaSecuritiesLitigation.com




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                     EXHIBIT A-3
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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


IN RE ALTA MESA RESOURCES, INC.        Civil Action No. 4:19-cv-00957
SECURITIES LITIGATION



                           SUMMARY NOTICE

                              EXHIBIT A-3
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IF YOU (1) HELD SHARES OF ALTA MESA RESOURCES, INC. (“ALTA MESA”)
F/K/A SILVER RUN ACQUISITION CORPORATION II (“SILVER RUN II”)
COMMON STOCK AND/OR SILVER RUN II UNITS ON JANUARY 22, 2018; OR (2)
PURCHASED OR OTHERWISE ACQUIRED SECURITIES OF ALTA MESA/ SILVER
RUN II FROM AUGUST 16, 2017 THROUGH MAY 17, 2019, INCLUSIVE (THE
“CLASS PERIOD”), YOU COULD RECEIVE A PAYMENT FROM A CLASS ACTION
SETTLEMENT. CERTAIN PERSONS ARE EXCLUDED FROM THE DEFINITION
OF THE CLASS AS SET FORTH IN THE STIPULATIONS OF SETTLEMENT.

       PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS MAY BE

AFFECTED BY A CLASS ACTION LAWSUIT PENDING IN THIS COURT.

       YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil

Procedure and an Order of the United States District Court for the Southern District of

Texas, that in the above-captioned litigation (the “Action”), several separate settlements have

been proposed totaling $126.3 million in cash (collectively, the “Settlement”). A hearing will

be held on ____________, 2025, at __:__ _.m., before the Honorable George C. Hanks, Jr.,

at the United States District Court, Southern District of Texas, Houston Division, Bob Casey

United States Courthouse, 515 Rusk Street, Houston, TX 77002, for the purpose of

determining, among other things, whether: (i) the proposed Settlement should be approved

by the Court as fair, reasonable, and adequate; (ii) the proposed Plan of Allocation for

distribution of the Settlement proceeds is fair, reasonable, and adequate and therefore should

be approved; and (iii) the application of Class Counsel for the payment of attorneys’ fees and

expenses from the Settlement Fund, including interest earned thereon, and awards to Class

Plaintiffs pursuant to 15 U.S.C. §78u-4(a)(4), should be granted.

       IF YOU ARE A MEMBER OF THE CLASS DESCRIBED ABOVE, YOUR

RIGHTS WILL BE AFFECTED BY THE SETTLEMENT OF THE LITIGATION,

AND YOU MAY BE ENTITLED TO SHARE IN THE NET SETTLEMENT FUND.

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You may obtain a copy of the Stipulations of Settlement, the Notice of Proposed Settlement

of Class Action (“Notice”), and the Proof of Claim and Release Form (“Proof of Claim”) at

www.AltaMesaSecuritiesLitigation.com or by contacting the Claims Administrator: Alta

Mesa Securities Litigation, c/o JND Legal Administration, P.O. Box 91218, Seattle, WA

98111; 1-855-208-4124.

       If you are a Class Member, to be eligible to share in the distribution of the Net

Settlement Fund, you must submit a Proof of Claim by mail postmarked no later than

____________, 2025, or electronically via the website by that date. If you are a Class

Member and do not submit a valid Proof of Claim, you will not be eligible to share in the

distribution of the Net Settlement Fund, but you will still be bound by any judgment entered

by the Court in this Action (including the releases provided for therein).

       To have excluded yourself from the Class, you must have mailed a written request for

exclusion so that it was postmarked by May 17, 2024, in accordance with the instructions set

forth in the notice of class certification disseminated pursuant to Court order. No further

exclusion opportunity is being provided under the Settlement, and if you are a Class Member

and did not previously exclude yourself from the Class, you will accordingly be bound by

any judgment entered by the Court in this Action (including the releases provided for

therein) whether or not you submit a Proof of Claim. If you submitted a valid request for

exclusion, you are not a Class Member and have no right to recover money pursuant to the

Settlement.




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      Any objection to the proposed Settlement, the Plan of Allocation, and/or the fee and

expense application must be filed with the Court and sent to Class Counsel and Defendants’

counsel no later than ___________, 2025, in the manner and form explained in the Notice.

      PLEASE DO NOT CONTACT THE COURT, THE CLERK’S OFFICE,

DEFENDANTS, OR DEFENDANTS’ COUNSEL REGARDING THIS NOTICE. If

you have any questions about the Settlement, or your eligibility to participate in the

Settlement, you may contact Class Counsel at the following addresses:

ENTWISTLE & CAPPUCCI                                  ROBBINS GELLER RUDMAN
LLP                                                     & DOWD LLP
ANDREW J. ENTWISTLE                                   TRIG R. SMITH
ROBERT N. CAPPUCCI                                    655 W. Broadway, Suite 1900
500 W. 2nd Street, Suite 1900                         San Diego, CA 92101
Austin, TX 78701                                      settlementinfo@rgrdlaw.com
aentwistle@entwistle-                                 Telephone: 1-800-449-4900
law.com
rcappucci@entwistle-law.com
Telephone: 1-512-710-5960



DATED: ___________________               BY ORDER OF THE COURT
                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF TEXAS




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                     EXHIBIT A-4
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LEGAL NOTICE
In re Alta Mesa Resources, Inc. Securities Litigation
No. 4:19-cv-00957 (S.D. Tex.)
c/o JND Legal Administration
P.O. Box 91218
Seattle, WA 98111

www.AltaMesaSecuritiesLitigation.com

Court-Ordered Legal Notice
(Forwarding Service Requested)

This notice contains important information about a securities class action settlement.

You may be entitled to a payment. This notice may affect your legal rights.

Please read this notice carefully.
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                              In re Alta Mesa Resources, Inc. Securities Litigation
                                         No. 4:19-cv-00957 (S.D. Tex.)
           THIS POSTCARD CARD PROVIDES ONLY LIMITED INFORMATION ABOUT THE SETTLEMENT
     VISIT WWW.ALTAMESASECURITIESLITIGATION.COM OR CALL 1-855-208-4124 FOR MORE INFORMATION.

If you (1) held shares of Alta Mesa Resources, Inc. (“Alta Mesa”) f/k/a Silver Run Acquisition Corporation II (“Silver Run II”) common
stock and/or Silver Run II units on January 22, 2018; or (2) purchased or otherwise acquired securities of Alta Mesa/Silver Run II from
August 16, 2017 through May 17, 2019, inclusive (the “Class Period”), you could be entitled to a payment from several separate proposed
settlements (collectively, the “Settlement”) reached in this action (“Action”). Your rights may be affected by this Action and the
Settlement. A hearing will be held on _________________, 2025, at _______ (“Settlement Hearing”) before the Honorable George C.
Hanks, Jr. at the United States District Court for the Southern District of Texas, Houston Division, Bob Casey United States Courthouse,
515 Rusk Street, Houston, TX 77002 to determine, among other things, (a) whether the proposed Settlement of the Action against
Defendants for $126.3 million and the Plan of Allocation should be approved as fair, reasonable, and adequate, and the Action should
be dismissed with prejudice against the Defendants, as set forth in the Stipulations of Settlement (“Stipulations”) filed with the Court,
and (b) whether Class Counsel’s application for an award of attorneys’ fees of up to 33% of the Settlement Amount, plus interest,
expenses not to exceed $7 million, plus interest, and awards to Class Plaintiffs not to exceed $175,000 in the aggregate pursuant to 15
U.S.C. §78u-4(a)(4), should be granted.

The proposed Settlement would resolve a class action lawsuit alleging Defendants violated the federal securities laws. Class Plaintiffs
allege that certain Defendants made material misrepresentations and omissions of material facts in the Definitive Proxy Statement issued
in connection with the Business Combination in which Silver Run II “de-SPACed,” acquiring Alta Mesa Holdings and Kingfisher
Midstream and changing its name to Alta Mesa. Class Plaintiffs also allege that certain Defendants made material misrepresentations
in other public statements during the Class Period. Defendants deny the allegations. For a full description of the Settlement and your
rights and to make a claim, you may obtain the Stipulations, long-form Notice of Proposed Settlement of Class Action (“Notice”), and
the Proof of Claim and Release Form (“Proof of Claim”) by visiting the website: www.AltaMesaSecuritiesLitigation.com (“Website”)
or you may request copies of the documents from the Claims Administrator by: (i) mail: Alta Mesa Securities Litigation, c/o JND Legal
Administration, P.O. Box 91218, Seattle, WA 98111; or (ii) call toll-free: 1-855-208-4124.

To qualify for payment, you must submit a valid Proof of Claim, with supporting documentation, postmarked or submitted online no
later than _____________, 2025. You will be bound by any Judgment entered in the Action, regardless of whether you submit a Proof
of Claim, unless you previously excluded yourself from the Class as the Settlement does not provide for an additional exclusion
opportunity. If you previously excluded yourself, you cannot get money from this Settlement. If you did not exclude yourself and
stayed in the Class, you may object to the Settlement, Plan of Allocation, or request for award of attorneys’ fees and expenses no later
than ______________, 2025. The long-form Notice and the Website explain how to object.
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Class Plaintiffs and the Class are represented by Class Counsel: Andrew J. Entwistle and Robert N. Cappucci, Entwistle & Cappucci
LLP, 500 W. 2nd Street, Suite 1900, Austin, TX 78710, 1-512-710-5960; and Trig R. Smith, Robbins Geller Rudman & Dowd LLP,
655 W. Broadway, Suite 1900, San Diego, CA 92101, 1-800-449-4900, settlementinfo@rgrdlaw.com. You may, but do not have to,
attend the Settlement Hearing to be heard. The Court reserves the right to hold the Settlement Hearing telephonically or by other virtual
means and/or change its date and/or time. Please check the Website for updates.
